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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

 NPG, LLC d/b/a WELLNESS                      )
 CONNECTION and HIGH STREET                   )
 CAPITAL PARTNERS, LLC,                       )
                                              )
        Plaintiffs,                           )
                                              )
 v.                                           )
                                              )
 THE CITY OF PORTLAND,                        )    Docket No. 2:20-cv-00208-NT
                                              )
        Defendant.                            )

                              STIPULATION OF DISMISSAL

       The City of Portland has amended its city code to eliminate the ordinance

provisions challenged by Plaintiffs in this lawsuit. Because those provisions are no longer

effective, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties stipulate and agree that all

claims are dismissed without fees and without costs.

       December 13, 2020


                                                    ___/s/ Matthew Warner_________
                                                     Matthew Warner
                                                     Alexandra Harriman

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                            CERTIFICATE OF SERVICE

      I hereby certify that on December 13, 2020, I have electronically filed Stipulation
of Dismissal, using the CM/ECF system, which will send notification of such filing to the
counsel of record.

                                         ___/s/ Matthew Warner_________
                                                Matthew Warner

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